                              ON THE MERITS                              (294 P. 600)
Department 1.
In the matter of the estate of Anna G. De Lin, deceased. Will contest by Arthur J. Richards and another, opposed by William M. De Lin and Mary Clara Eames, individually and as executor and executrix of the estate of deceased, and another. Decree for defendants, and the contestants appeal.
AFFIRMED.
This case was assigned to the late Mr. Justice McBRIDE and owing to his illness beginning early last spring and continuing intermittently until he passed on, decision thereof has been necessarily deferred. It is a will contest.
The controverted part of the contest is as follows:
"That said purported will, a copy of which is hereto attached marked `Exhibit A', is not the last will and testament of Anna G. De Lin, and was never published or declared by her to be her last will and testament; that said will is not and was not executed by the said Anna G. De Lin in accordance with the statutes of the State of Oregon pertinent to the execution of wills; that on the 9th day of January, 1929, and for a long period of time prior thereto Anna G. De Lin was not of sound or disposing mind or memory but was suffering greatly from physical weakness and disease and that because of said pain and suffering and the length of her said illness she was mentally incompetent and *Page 11 
not capable of knowing or understanding what she was doing and was not capable of understanding her property or its location or its kind, and not capable of knowing or understanding what persons should naturally be the objects of her bounty; that on said 9th day of January, 1929, Mary Clara Eames, with others, and particularly with the husband of the said Mary Clara Eames, and with the son of said Mary Clara Eames through coercion, duress, undue influence and fraud attempted to obtain and did obtain the signature of Anna G. De Lin or a purported signature of hers, to said purported last will and testament."
The will is in the following language:
                               "Portland, Oregon, Jan. 9-1929.
"I, Anna G. De Lin, being in my right mind, do bequeath to my cousin, Mame Miller Oatman, the sum of one thousand dollars $1,000 and the following registered bonds — No. 1,702,317 for one hundred dollars; No. 1,702,318 for one hundred dollars; No. 422,686 for five hundred dollars; No. 422,687 for five hundred dollars, making twelve hundred dollars in bonds.
"To my nephew De Lin Eames the sum of one thousand dollars in cash, twenty-five shares of Pullman Stock and twenty shares of Pennsylvania Stock.
"To my nephew Arthur John Richards the sum of one hundred dollars.
"To my nephew Winfred Daniel Richards the sum of one hundred dollars.
"To my friend Esmeralda Lasher the sum of five hundred dollars.
"The rest of the estate to be divided equally between Wm. M. De Lin and Mary C. Eames.
"The administrators to be Wm. M. De Lin and Mary C. Eames — without bonds.
"I declare this to be my last will and testament.
Anna G. De Lin. Witness Rachel A. Hays W.P. Hays." *Page 12 
There is no controversy between the respective attorneys about the law applicable to the facts. It is conceded that the irregularities in the form of the will are not fatal to its validity. The questions presented therefore are of fact entirely.
Two different subjects are raised by contestants, who are appellants, first, the decree upholding the will, and second, taxing costs against petitioners and contestants. The contestants are Arthur J. Richards and Winfred D. Richards. Neither of said contestants was dependent on testate.
One of the attorneys for appellants stated in his oral argument as follows: "As to the law of the case, gentlemen, there is no argument between the attorneys on the other side and myself."
The evidence in behalf of the proponents of the will discloses that respondent Mary Eames is a sister of the testate and wrote the will at her dictation. After writing the will in pencil she read it to her sister, the testate, who said it was as she wanted it. Testate then directed her sister to copy it in ink, which she did, adding to the pencil copy at the request of testate the words: "I declare this to be my last will and testament."
As a witness respondent Mary Eames testified on cross-examination:
"Q. It (the will) was not prepared before?
"A. Absolutely; just the minute I got through writing that (the pencil draft of the will), I went to the table and wrote the ink one. There wasn't five minutes elapsed. Just as quick as I read that lead pencil copy to her, I copied it in ink, and then readit to her, — I handed it to her to read it, and she says, `You read it to me.'" *Page 13 
The witness, Mrs. Eames, also testified that she read the will to testate after she had copied it in ink. She was very positive in her testimony that she wrote the will word for word as her sister, the testate dictated.
Contestants are the sons of a deceased sister of testate and were each left the sum of $100 only. There is undisputed testimony of several witnesses that testate had expressed her intention of not leaving any property to her said nephews, the contestants.
The principal contention on behalf of contestants is that at the time the will was written testate had not sufficient mental capacity to dictate the will. There is in the record the testimony of three disinterested witnesses to the effect that testate was bright mentally and appeared to be in full possession of her mental faculties at the time the will was executed; that she was strong intellectually, possessed a strong will and could not be influenced against her wishes by any person.
In addition to the disinterested witnesses there is the testimony of Mrs. Eames, Mrs. Oatman, and Mrs. Lasher, all beneficiaries under the will to the effect that at and about the time the will was dated testate was mentally as sound as theretofore. Testate had been a school teacher for a number of years in the city of Portland. She had retired from teaching about six years prior to her death, which occurred a little less than four days after she executed her will. Her retirement was caused by her ill health. But up to two or three days prior to the date of the will she was up and around and did her own housework. She died of pulmonary tuberculosis.
The evidence on behalf of contestants is contradictory of the evidence adduced by proponents. After *Page 14 
carefully weighing all of the evidence we are persuaded that the weight of the evidence is decidedly in favor of the proponents. We cannot give to expert testimony based on hypothetical questions the same weight we do the direct and positive testimony of the doctor who treated testate. The latter has a great advantage over the former. Dr. Smith, who did see her, examined her, conversed with her, is very positive in his testimony that the testate was mentally competent. He had every opportunity of observing the testate and would have discovered her mental incapacity if she had been mentally unsound.
Testate had been careful about her business, kept strict account of her investments and only two or three days prior to making her will had reviewed her records and expressed an intention of investing some money in another business enterprise. In view of this evidence, which we think is overwhelmingly in favor of proponents, we hold that testate was competent to frame the will: McCracken v. McCracken, 109 Or. 83, 86 (219 P. 196), from which we take this language:
"An attempt was made to overcome the evidentiary showing of the proponent by expert testimony of physicians who gave their opinion on the hypothesis that death occurred by apoplexy, that he was incapable of making a will. That was the direct question to be determined by the trier of facts. Such testimony was an attempt to invade the province of the one called upon to find the facts and was not admissible: Lehman v. Knott, 100 Or. 59
(196 P. 476); Patterson v. Howe, 102 Or. 275 (202 P. 225)."
The property belonged to the testate and she had a right to dispose of it as she pleased. The will is not an unnatural one. From its contents it does not appear to be contrary to natural justice. Her only brother, *Page 15 
Wm. De Lin, and only surviving sister, the said Mary Eames, were treated exactly the same in the will. The contestants are her nephews, are in middle life and neither has legal nor moral claim on testate's bounty. There was no reasonable ground for contesting the will. The only suspicious circumstance shown is that one of the beneficiaries wrote the will. That circumstance has been satisfactorily explained.
"The usual objection to paying costs from an estate in a proceeding to contest a will is where the contestant is unsuccessful, and such a provision might tend to promotelitigation": In re Johnson's Estate, 100 Or. 142, 163
(196 P. 385, 1115).
Respondents are entitled to costs. Decree affirmed.
RAND and ROSSMAN, JJ., concur.
KELLY, J., did not participate in this opinion. *Page 16 